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                        UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   Venice PI, LLC et al.,                    )   Case No.: 1:19-cv-169-LEK-KJM
                                             )   (Copyright)
                     Plaintiff,              )
       vs.                                   )   PLAINTIFFS’ SCHEDULING
                                             )   CONFERENCE STATEMENT
   Doe 1 et. al.                             )
                     Defendants.             )   SCHEDULING CONFERENCE
                                             )   DATE: 7/11/2019 @ 9:00 AM
                                             )   BEFORE MAGISTRATE JUDGE
                                             )   KENNETH J. MANSFIELD
                                             )
                                             )
                                             )

              PLAINTIFFS’ SCHEDULING CONFERENCE STATEMENT

          Comes now Plaintiffs, above-named, and hereby submit their scheduling

  conference statement pursuant to Rule 16.2 of the Local Rules of Practice for the

  United States District Court for the District of Hawaii.

  I.      NATURE OF THE CASE




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                Plaintiffs Venice PI, LLC, MON LLC, Millennium Funding, Inc.,

        Bodyguard Productions, Inc., TBV Productions, LLC, UN4 Productions, Inc., and

        Hunter Killer Productions, Inc. (collectively “Plaintiffs”) are the registered

        copyright owner of the following motion picture:

                                             MOTION PICTURE                 Copyright
                        OWNER
                                                                            Certificate
                                                                             Number
                                              Once Upon a Time in           PA2039391
                     Venice PI, LLC
                                                    Venice
                                                  Singularity               PAu3848900
                       MON LLC
                                            Mechanic: Resurrection          PA1998057
                  Millennium Funding,
                          Inc.
                                                  The Hitman’s              PAu3844508
                 Bodyguard Productions,
                                                   Bodyguard
                         Inc.
                                                   I Feel Pretty            Pau3896491
                 TBV Productions, LLC
                                               Boyka: Undisputed          PA0002000772
                  UN4 Productions, Inc.
                                                  Hunter Killer             PA2136168
                      Hunter Killer
                     Productions, Inc.


                Defendant DOE 1 streamed copies of Plaintiffs’ Works from the interactive

        website yifymovies.is (“YIFY”) and promoted the YIFY website for this very

        infringing purpose. Defendant DOE 2 distributes torrent files for copying

        Plaintiffs’ Works from the interactive websites (yify.ag, yify.gg, yify.am and now

        yify.lt) (“YTS”) and promotes the website for the infringing purpose. Defendants

        DOES 4-10 provide streaming sources for the YIFY website of Defendant DOE 1.


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                Plaintiffs are suing the Defendants DOE 1, DOE 2 and DOES 4-10

        (“Defendants”) for contributing to copyright infringement and intentional

        inducement. Originally named Defendants DOE 3, MICHAEL NOLASCO and

        BRENT BALDWIN have been dismissed from the case per joint stipulations or

        judgments. The Complaint was filed on April 4, 2019.

                Defendants DOE 1 and DOE 2 anonymously registered their domains and

        used the content delivery network provider Cloudflare to conceal the IP address of

        their websites. Accordingly, Plaintiffs only knew the website addresses of

        Defendants DOE 1 and DOE 2 as alleged in the Complaint. Defendants only

        know the IP addresses Defendants DOES 4-10 used to provide access to the

        streaming content. Accordingly, Plaintiffs filed a motion for leave to subpoena

        Defendants’ international web host registrars and host service providers in order to

        obtain the true identities of the Defendants DOE 1 and DOE 2 to serve them with

        the summons and complaint. [Doc. #27]. The Court denied this motion on July 1,

        2019. [Doc. #32].

        II.     JURISDICTION AND VENUE

                In the Order denying the Motion on July 1, 2019, the Court asserted that it

        lacks personal jurisdiction over Defendants. Plaintiffs respectfully disagree.

        Defendants have committed unlawful and tortious acts both within and outside this

        jurisdiction with the full knowledge that their acts would cause injury in this


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        jurisdiction. As such, Defendants have sufficient contacts with this judicial district

        to permit the Court’s exercise of personal jurisdiction over each.

                In the alternative, the Court has jurisdiction pursuant to Fed. R. Civ. P.

        4(k)(2), the so-called federal long-arm statute, for at least the following reasons:

        (1) Plaintiffs’ claims arise under federal law; (2) the Defendants DOE 1 and DOE

        2 purposely directed their electronic activity into the United States and target and

        attract a substantial number of users in the United States and, more particularly,

        this District; (3) Defendants do so with the manifest intent of engaging in business

        or other interactions with the United State; (4) the Defendants are not subject to

        jurisdiction in any state’s courts of general jurisdiction; and (5) exercising

        jurisdiction is consistent with the United States Constitution and laws.

                Plaintiffs respectfully submit that this Court has subject matter jurisdiction

        over this action pursuant to 17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28

        U.S.C. § 1331 (federal question), and 28 U.S.C. § 1338 (patents, copyrights,

        trademarks, and unfair competition).

                Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

        because: (a) all or a substantial part of the events or omissions giving rise to the

        claims occurred in this District.

        III.    DEMAND FOR JURY TRIAL

                The Plaintiffs demanded a jury trial in the Complaint.


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        IV.     INITIAL DISCLOSURES

                Plaintiffs will submit their initial disclosures in accordance with the rules after

        conferencing with the Defendants.

        V.      DISCOVERY AND MOTIONS

                Plaintiffs’ motion for a temporary restraining order was held in abeyance until

        after Plaintiffs complete service on Defendants [Doc. #16]. Plaintiffs have not yet,

        but may in the future, file dispositive motions.

                Plaintiffs have requested and had third party subpoenas issued pursuant to 17

        USC §512 to service providers that hosted the websites of Defendants DOE 1 and

        DOE 2 and the infringing content sources of Defendants DOES 4-10.

        VI.     SPECIAL PROCEDURES

                Plaintiffs do not request any special procedures at this time.

        VII. RELATED CASES

                None.

        VIII. ADDITIONAL MATTERS

                Plaintiffs request that the scheduling conference be postponed or continued

        for two months until September 11, 2019 at which time Plaintiffs can advise the

        Court on the progress of identifying and serving the Defendants.



        DATED: Kailua-Kona, Hawaii, July 3, 2019.


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                                    CULPEPPER IP, LLLC


                                    /s/ Kerry S. Culpepper
                                    Kerry S. Culpepper

                                    Attorney for Plaintiffs




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